Case 0:17-cv-60907-FAM Document 352 Entered on FLSD Docket 03/06/2019 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 17-60907-CIV-MORENO/SELTZER

  FEDERAL TRADE COMMISSION, et al.,

         Plaintiffs,

  vs.

  JEREMY LEE MARCUS, et al.,

         Defendants.
                                           /

                            REPORT AND RECOMMENDATION

         THIS CAUSE has come before the Court upon the Motion of Receiver Jonathan E.

  Perlman, Esq. Regarding Relief Defendant Teresa Duda’s Failure to Turn Over Asset (“the

  Motion”) [DE 324]. The Motion was referred to the undersigned to submit a Report and

  Recommendation [DE 325].

         On February 27, 2019, the undersigned conducted a hearing on the Motion. The

  parties then entered a Stipulated Order [DE 351], which provided that the Receiver and

  Teresa Duda shall have until March 6, 2019, to amicably resolve the turnover of the real

  property located at 110 Glouchester Street, Boca Raton, Florida, 33487 (“the Property”),

  and if there were no resolution on or before March 6, 2019, Teresa Duda would vacate and

  turn over the Property to the Receiver. The Stipulated Order further stated that “[u]nless

  the Court is notified of any resolution or turn over of the property by Duda to the Receiver,

  the undersigned will recommend that the District Court issue a Writ of Possession for the

  Property on March 6, 2019.”
Case 0:17-cv-60907-FAM Document 352 Entered on FLSD Docket 03/06/2019 Page 2 of 4



         The undersigned has been contacted by counsel for the Receiver and has been

  advised that no resolution has been met and that Duda has failed to vacate and turn over

  the Property to the Receiver. Accordingly, the undersigned RECOMMENDS that the Court

  GRANT the Motion of Receiver Jonathan E. Perlman, Esq. Regarding Relief Defendant

  Teresa Duda’s Failure to Turn Over Asset (“the Motion”) [DE 324] and issue a Writ of

  Possession in the form as attached hereto as Exhibit A.

         The parties will have sever (7) days1 from the date of being served with a copy of

  this Report and Recommendation within which to file written objections, if any, with the

  Honorable Federico A. Moreno, United States District Judge. Failure to file objections

  timely shall bar the parties from a de novo determination by the District Judge of an issue

  covered in the Report and shall bar the parties from attacking on appeal unobjected-to

  factual and legal conclusions contained in this Report except upon grounds of plain error




         1
            Rule 4(b) of the Magistrate Judge Rules, Local Rules for the Southern District of
  Florida, requires that a party file any objections to a magistrate judge’s report and
  recommendation within fourteen (14) days of being served “or within such other time as
  may be allowed by the Magistrate Judge or District Judge.” S.D. Fla. L. R. (Magistrate
  Judge Rule 4(b)). Where exigencies exist, a court may shorten the time for filing
  objections. See United States v. Barney, 568 F.2d 134, 136 (9th Cir. 1978) (holding that
  trial court did not err in providing parties less than the [then-applicable] full ten-day period
  to file objections to the magistrate’s report and recommendation where exigencies existed,
  stating that the [then- applicable] “[t]en days is a maximum, not a minimum”); Hispanic
  Counseling Center, Inc. v. Incorporated Village of Hempstead, 237 F. Supp. 2d 284, 290
  (E.D.N.Y. 2002) (court may shorten time period for filing objections where exigencies exist).
  Exigencies exist in this case because Duda has wrongfully been in possession of the
  Property at the expense of the Receiver since September 27, 2018, when she executed
  a Special Warranty Deed for the Property in favor of the Receiver [DE 324].


                                                 2
Case 0:17-cv-60907-FAM Document 352 Entered on FLSD Docket 03/06/2019 Page 3 of 4



  if necessary in the interest of justice. See 28 U.S.C. § 636(b)(1); Thomas v. Arn, 474 U.S.

  140, 149 (1985); Henley v. Johnson, 885 F.2d 790, 794 (1989); 11th Cir. R. 3-1 (2016).

         DONE AND SUBMITTED in Chambers, Fort Lauderdale, Florida, this 6th day of

  March 2019.




  Copies furnished via CM/ECF to:
  Hon. Federico A. Moreno
  Counsel of record

  Teresa Duda
  110 Glouchester Street
  Boca Raton, FL 33487

  Eleni C. Panaridis, Esq.
  2385 NW Executive Center Drive
  Suite 100
  Boca Raton, FL 33431




                                              3
Case 0:17-cv-60907-FAM Document 352 Entered on FLSD Docket 03/06/2019 Page 4 of 4



                                        EXHIBIT A


                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 17-60907-CIV-MORENO/SELTZER

  FEDERAL TRADE COMMISION, et al.,

        Plaintiffs,

  vs.

  JEREMY LEE MARCUS, et al.,

        Defendants.
                                          /

                                 WRIT OF POSSESSION

  TO THE UNITED STATES MARSHAL
  FOR THE SOUTHERN DISTRICT OF FLORIDA


        YOU ARE COMMANDED to remove all persons from the following described

  property at 100 Glouchester St., Boca Raton, FL 33487, Palm Beach County, Florida, and

  to put Jonathan E. Perlman, as Receiver, in possession of it.

        DATED this       day of March 2019.




                                                  HONORABLE FEDERICO A. MORENO
                                                  UNITED STATES DISTRICT JUDGE


  Copies furnished counsel via CM/ECF




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